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LaMONICA HERBST & MANISCALCO, LLP                                    Presentment Date: September 30, 2019
Counsel to Salvatore LaMonica, as Chapter 7 Trustee                  Objection Deadline: September 23, 2019
3305 Jerusalem Avenue
Wantagh, New York 11793
Telephone: (516) 826-6500
Holly R. Holecek, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
In re:                                                               Chapter 7

ONLINE DIAMONDS INTERNATIONAL CORP.,                                 Case No.: 19-12042 (SMB)
d/b/a ENCHANTED DIAMONDS, d/b/a
ENCHANTEDDIAMONDS.COM,

                           Debtor.
----------------------------------------------------------------x
        NOTICE OF PRESENTMENT OF STIPULATION AND ORDER BETWEEN
                        THE CHAPTER 7 TRUSTEE AND REALTIES 1430

         PLEASE TAKE NOTICE that, on September 30, 2019 at 10:00 a.m., Salvatore

LaMonica, as Chapter 7 Trustee of the estate of Online Diamonds International Corp., d/b/a

Enchanted Diamonds, d/b/a Enchanteddiamonds.com, by his undersigned counsel, will present

the annexed Stipulation and Order Between the Chapter 7 Trustee and Realties 1430

(“Stipulation”) for approval to the Honorable Stuart M. Bernstein, United States Bankruptcy

Judge, at the United States Bankruptcy Court for the Southern District of New York, One

Bowling Green, New York, New York 10004 (“Court”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Stipulation must

be in writing, conform with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure,

state with particularity the grounds therefor and be filed with the Court no later than September

23, 2019 (“Objection Deadline”) as follows: (I) through the Court’s NextGen system, which may

be accessed through the internet at the Court’s website at www.nysb.uscourts.gov and in portable

document format (PDF) using Adobe Exchange Software for conversion; or (II) if a party is

unavailable to file electronically, such party shall submit the objection in PDF format on portable
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media in an envelope with the case name, case number, type and title of document, document

number to which the objection refers and the file name on the outside of the envelope to the

Clerk of the Court at the United States Bankruptcy Court for the Southern District of New York,

One Bowling Green, New York, New York 10004.

       PLEASE TAKE FURTHER NOTICE that, if an objection to the Stipulation is not filed

by the Objection Deadline, the relief requested may be deemed unopposed, and the Bankruptcy

Court may approve the Stipulation without further notice.

       PLEASE TAKE FURTHER NOTICE that if an objection to the Stipulation is timely

filed by the Objection Deadline, a hearing will be scheduled before the Honorable Stuart M.

Bernstein, notice of which will be provided separately.

Dated: September 4, 2019
       Wantagh, New York
                                     LaMONICA HERBST & MANISCALCO, LLP
                                     Counsel to Salvatore LaMonica, as Chapter 7 Trustee

                              By:    s/ Holly R. Holecek
                                     Holly R. Holecek, Esq.
                                     A Partner of the Firm
                                     3305 Jerusalem Avenue
                                     Wantagh, New York 11793
                                     Telephone: (516) 826-6500
